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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF COLUMBIA

JOHN DOE,                                   )
                                            )
        Plaintiff,                          )      Civil Action No. 1:18-cv-553
                                            )
v.                                          )
                                            )
THE GEORGE WASHINGTON                       )
UNIVERSITY,                                 )
                                            )
        Defendant.                          )
                                            )

                             NOTICE OF REDACTED FILINGS

        PLEASE TAKE NOTICE that pursuant to this Court’s order granting John Doe’s

Unopposed Motion to Proceed Under Pseudonym (ECF No. 2), and this Court’s Minute Order on

May 18, 2018, John Doe hereby submits the attached redacted exhibits in support of his Motion

for Partial Summary Judgment (ECF No. 27):

     1.   Exhibit 1 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-4)

     2.   Exhibit 2 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-5)

     3.   Exhibit 13 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-16)

     4.   Exhibit 15 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-18)

     5.   Exhibit 17 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-20)

     6.   Exhibit 18 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-21)

     7.   Exhibit 19 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-22)

     8.   Exhibit 20 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-23)

     9.   Exhibit 21 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-24)

     10.   Exhibit 22 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-25)

     11.   Exhibit 23 to Motion for Partial Summary Judgment (corresponding to ECF No. 27-26)
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                                         Respectfully submitted,


DATED: May 18, 2018                      /s/ Christopher C. Muha
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of May, 2018, a copy of the foregoing Notice of

Redacted Filings was served upon counsel of record by the Court’s electronic filing system, and

further that it was served by email to the following counsel for The George Washington

University:



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                                                    /s/ Christopher C. Muha
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